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                                                                                                                              7
 TLS, have you             I.R.S. SPECIFICATIONS            TO BE REMOVED BEFORE PRINTING
 transmitted all R                                                                                                                  Action                   Date          Signature
 text files for this       INSTRUCTIONS TO PRINTERS
 cycle update?             FORM 1040A, PAGE 1 of 2
                           MARGINS: TOP 13 mm (1⁄2 "), CENTER SIDES.   PRINTS: HEAD TO HEAD                                         O.K. to print
                           PAPER: WHITE WRITING, SUB. 20.        INK: BLACK
                           FLAT SIZE: 203 mm (8") x 279 mm (11")
         Date              PERFORATE: (NONE)                                                                                        Revised proofs
                           DO NOT PRINT — DO NOT PRINT — DO NOT PRINT — DO NOT PRINT                                                requested




 Form                      Department of the Treasury—Internal Revenue Service

 1040A                     U.S. Individual Income Tax Return                                            (99)       2005              IRS Use Only—Do not write or staple in this space.
                           Your first name and initial                             Last name                                                                         OMB No. 1545-0074
 Label                                                                                                                                                   Your social security number
 (See page 18.)        L
                       A
                       B
                       E   If a joint return, spouse’s first name and initial      Last name                                                             Spouse’s social security number
 Use the               L
 IRS label.            H   Home address (number and street). If you have a P.O. box, see page 18.                                          Apt. no.
 Otherwise,            E
                       R
                                                                                                                                                         䊱 your SSN(s) above. 䊱
                                                                                                                                                           You must enter
 please print
                       E
 or type.                  City, town or post office, state, and ZIP code. If you have a foreign address, see page 18.
                                                                                                                                                       Checking a box below will not
 Presidential                                                                                                                                          change your tax or refund.
 Election Campaign 䊳 Check here if you, or your spouse if filing jointly, want $3 to go to this fund (see page 18)                                     䊳       You           Spouse

 Filing                      1   Single                                                  4      Head of household (with qualifying person). (See page 19.)
                             2   Married filing jointly (even if only one had income)           If the qualifying person is a child but not your dependent,
 status                                                                                         enter this child’s name here. 䊳
 Check only                  3   Married filing separately. Enter spouse’s SSN above and
 one box.                        full name here. 䊳                                       5      Qualifying widow(er) with dependent child (see page 19)


                                                                                                                                                                 其
                             6a     Yourself. If someone can claim you as a dependent, do not check                                    Boxes
 Exemptions                                                                                                                            checked on
                                                  box 6a.                                                                              6a and 6b
                              b     Spouse                                                                                             No. of children
                              c Dependents:                                                                       (4) if qualifying    on 6c who:
                                                                                           (3) Dependent’s
                                                                                   (2) Dependent’s social                                        child for child       ● lived with
                                                                                                                         relationship to                               you
                                                                                       security number                                           tax credit (see
                                   (1) First name             Last name                                                        you                  page 21)
 If more than six                                                                                                                                                      ● did not live
 dependents,                                                                                                                                                           with you due
 see page 21.                                                                                                                                                          to divorce or
                                                                                                                                                                       separation
                                                                                                                                                                       (see page 22)

                                                                                                                                                                       Dependents
                                                                                                                                                                       on 6c not
                                                                                                                                                                       entered above

                                                                                                                                                                       Add numbers
                                                                                                                                                                       on lines
                                 d Total number of exemptions claimed.                                                                                                 above 䊳

 Income
                             7      Wages, salaries, tips, etc. Attach Form(s) W-2.                                                                          7
 Attach
 Form(s) W-2
 here. Also                 8a Taxable interest. Attach Schedule 1 if required.                                                                             8a
 attach                      b Tax-exempt interest. Do not include on line 8a.    8b
 Form(s)                    9a Ordinary dividends. Attach Schedule 1 if required.                                                                           9a
 1099-R if tax               b Qualified dividends (see page 25).                 9b
 was withheld.
                           10 Capital gain distributions (see page 25).                                                                                    10
 If you did not            11a IRA                                              11b Taxable amount
 get a W-2, see
 page 24.
                               distributions.     11a                               (see page 25).                                                         11b
                           12a Pensions and                                     12b Taxable amount
 Enclose, but do               annuities.                                           (see page 26).
 not attach, any
                                                  12a                                                                                                      12b
 payment.
                           13 Unemployment compensation and Alaska Permanent Fund dividends.                                                                13
                           14a Social security                        14b Taxable amount
                               benefits.       14a                         (see page 28).                                                                  14b

                           15       Add lines 7 through 14b (far right column). This is your total income.                                             䊳    15
 Adjusted                  16       Educator expenses (see page 28).                     16
 gross                     17       IRA deduction (see page 28).                         17
 income                    18       Student loan interest deduction (see page 31). 18
                           19       Tuition and fees deduction (see page 32).            19
                           20       Add lines 16 through 19. These are your total adjustments.                                                              20

                           21       Subtract line 20 from line 15. This is your adjusted gross income.                                                 䊳    21
 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see page 58.                                                         Cat. No. 11327A                 Form 1040A (2005)
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                                       PERFORATE: (NONE)
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                 Separation 1 of 2: Black



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Tax,            22      Enter the amount from line 21 (adjusted gross income).                                                          22


                                   兵                                                                  其
credits,
         23a Check   You were born before January 2, 1941,   Blind Total boxes
and          if:     Spouse was born before January 2, 1941, Blind checked 䊳 23a
payments b If you are married filing separately and your spouse itemizes
Standard           deductions, see page 32 and check here                                       䊳 23b
Deduction
for—         24    Enter your standard deduction (see left margin).                                       24
● People who 25    Subtract line 24 from line 22. If line 24 is more than line 22, enter -0-.             25
checked any  26    If line 22 is over $109,475, or you provided housing to a person displaced by
box on line
23a or 23b or      Hurricane Katrina, see page 33. Otherwise, multiply $3,200 by the total number
who can be         of exemptions claimed on line 6d.                                                      26
claimed as a
dependent,     27  Subtract    line 26 from  line   25. If line 26  is  more  than  line 25, enter -0-.
see page 32.       This is your taxable income.                                                         䊳 27
● All others:  28 Tax, including any alternative minimum tax (see page 34).                               28
Single or      29 Credit for child and dependent care expenses.
Married filing
separately,        Attach Schedule 2.                                                 29
$5,000         30 Credit for the elderly or the disabled. Attach
Married filing     Schedule 3.                                                        30
jointly or
Qualifying     31  Education     credits. Attach   Form    8863.                      31
widow(er),     32 Retirement savings contributions credit. Attach Form 8880.          32
$10,000
               33 Child tax credit (see page 38). Attach
Head of            Form 8901 if required.
household,                                                                            33
$7,300         34 Adoption credit. Attach Form 8839.                                  34
               35 Add lines 29 through 34. These are your total credits.                                  35
               36 Subtract line 35 from line 28. If line 35 is more than line 28, enter -0-.              36
               37 Advance earned income credit payments from Form(s) W-2.                                 37
               38 Add lines 36 and 37. This is your total tax.                                          䊳 38
               39 Federal income tax withheld from Forms W-2 and 1099.                39
               40 2005 estimated tax payments and amount
 If you have       applied from 2004 return.                                          40
 a qualifying
 child, attach 41a Earned    income    credit    (EIC).                               41a
 Schedule        b Nontaxable combat pay election. 41b
 EIC.          42 Additional child tax credit. Attach Form 8812.                      42
               43 Add lines 39, 40, 41a, and 42. These are your total payments.                         䊳 43

Refund         44  If line 43  is more  than   line  38, subtract    line 38 from  line  43.
                   This is the amount you overpaid.                                                       44
Direct         45a Amount of line 44 you want refunded to you.                                          䊳 45a
deposit?
See page 53 䊳 b Routing                                        䊳 c Type:
                   number                                                       Checking        Savings
and fill in
45b, 45c,       䊳 d     Account
and 45d.
                        number
                46      Amount of line 44 you want applied to your
                        2006 estimated tax.                                 46
Amount          47      Amount you owe. Subtract line 43 from line 38. For details on how
                        to pay, see page 54.                                                                                        䊳   47
you owe
                48      Estimated tax penalty (see page 54).                48
                      Do you want to allow another person to discuss this return with the IRS (see page 55)?                    Yes. Complete the following.            No
Third party
                      Designee’s                                                 Phone                                        Personal identification
designee              name      䊳                                                no.        䊳 (       )                       number (PIN)           䊳
                      Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my
Sign                  knowledge and belief, they are true, correct, and accurately list all amounts and sources of income I received during the tax year. Declaration
here                  of preparer (other than the taxpayer) is based on all information of which the preparer has any knowledge.




                䊳
                      Your signature                                                Date             Your occupation                             Daytime phone number
Joint return?
See page 18.                                                                                                                                  (       )
Keep a copy           Spouse’s signature. If a joint return, both must sign.     Date           Spouse’s occupation
for your
records.

Paid                  Preparer’s
                      signature    䊳                                                           Date
                                                                                                                    Check if
                                                                                                                    self-employed
                                                                                                                                          Preparer’s SSN or PTIN

preparer’s
use only
                      Firm’s name (or
                      yours if self-employed),
                      address, and ZIP code
                                                 䊳                                                                        EIN
                                                                                                                          Phone no.       (       )

                                                                                                                                                  Form 1040A (2005)
